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          EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 EUGENE SCALIA, Secretary of Labor,
 United States Department of Labor, 1

                          Plaintiff,

                v.                                    Civil Action No. 1:20-cv-11944-RGS

 JKA CONSTRUCTION, INC., MENDES
 CANDIDO FRAMERS CORPORATION,
 and LUIZ MAURO VILELA, JR.,

                          Defendants.


                            CONSENT JUDGMENT AND ORDER

       Plaintiff Secretary of Labor, United States Department of Labor (the “Secretary”), has

filed a Complaint in this case under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (the

“FLSA” or “Act”). Defendant Luiz Mauro Vilela, Jr. was served with the Complaint on

December 1, 2020 and answered the Complaint on December 14, 2020. Defendant Vilela admits

that Defendant Vilela violated Section 15(a)(3) of the Act, 29 U.S.C. § 215(a)(3).

       The Court finds that it has jurisdiction to enter this Consent Judgment and Order (the

“Consent Judgment”), and the Secretary and Defendant Vilela agree to its terms.

       It is therefore ORDERED, ADJUGED, and DECREED that:

       1.       Defendant Vilela, Defendant Vilela’s agents, servants, and employees, and those

persons in active concert or participation with Defendant Vilela, are permanently enjoined and




       1
         Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Secretary of Labor
Martin J. Walsh is automatically substituted as the proper Plaintiff in this case. For ease of
reference, the Secretary and his pertinent predecessors will be referred to herein as the
“Secretary.”
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restrained from violating the provisions of Section 15(a)(3) of the FLSA, 29 U.S.C. § 215(a)(3).

Among other prohibited acts of retaliation, Defendant Vilela and any other persons subject to

this permanent injunction shall not:

            a. Harass or intimidate any employee or any employee’s family members for

               purposes of inhibiting any employee’s rights under the Act;

            b. Make threats of harm to any employee or any employee’s family members for

               purposes of inhibiting any employee’s rights under the Act;

            c. Threaten to close a business for purposes of inhibiting any employee’s rights

               under the Act; or

            d. Terminate or threaten to terminate any employee, or threaten that any employee

               will lose their job, for purposes of inhibiting any employee’s rights under the Act.

       2.      Further, the Court, finding that Josue Siqueira is due punitive damages in the

amount of $1,500.00 for Defendant Vilela’s violations of Section 15(a)(3) of the FLSA, 29

U.S.C. § 215(a)(3), orders that Defendant Vilela shall pay to the Secretary said punitive

damages, plus any applicable interest, according to the terms set forth herein.

       3.      The punitive damages provisions of this Consent Judgment shall be deemed

satisfied when Defendant Vilela delivers to the Secretary $1,500.00 in punitive damages.

       4.      Defendant Vilela shall make the payments required by this Consent Judgment on

or before the dates set forth on the attached Exhibit 1, which is incorporated in and made a part

of this Consent Judgment, with the first payment being made on or before October 1, 2021.

       5.      Defendant Vilela may make the punitive damages payments required by this

Consent Judgment online by ACH transfer, credit card, debit card, or digital wallet by going to

https://pay.gov/public/form/start/77689032 or by going to http://www.pay.gov and searching for



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WHDBWNE. Alternatively, payment may be made in the form of certified checks made payable

to “Wage and Hour Division—Labor” and delivered to the United States Department of Labor,

Wage and Hour Division, 1835 Market Street, 19th Floor, Philadelphia, Pennsylvania 19103-

2968, Attn: William Schweizer. Any such check shall have Case Number 1879616 written on the

face of the check.

       6.      In the event Defendant Vilela fails to make payment within ten days of any

payment being due under this Consent Judgment, Defendant Vilela consents to the entry of a

Writ of Execution, pursuant to Federal Rule of Civil Procedure 69, to enforce the monetary terms

of this Consent Judgment. The Secretary may seek such a writ at any time after the entry of this

Consent Judgment and may represent in filing for such a writ that Defendant Vilela consents to

its issuance. Upon a request from the Secretary, Defendant Vilela agrees to furnish to the

Secretary a complete and accurate list of Defendant Vilela’s real, personal, and business property

with an estimated value of $500.00 or more and the locations of such property for purposes of

the Secretary seeking a Writ of Execution in accordance with this Paragraph of the Consent

Judgment.

       7.      Upon receipt from Defendant Vilela, the Secretary will distribute to Josue

Siqueira the punitive damages amount totaling $1,500.00.

       8.      Defendant Vilela shall not, in any way, solicit, demand, accept, or keep any

amount paid or payable to any employee or former employee under this Consent Judgment, or in

any manner attempt to recover or otherwise influence any employee or former employee to

forfeit any amounts paid to such employee or former employee in connection with this Consent

Judgment. In the event any such amount is received from any employee, Defendant Vilela shall

immediately remit such amount to the United States Department of Labor at the following



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address: United States Department of Labor, Wage and Hour Division, 835 Market Street, 19th

Floor, Philadelphia, Pennsylvania 19103-2968, Attn: William Schweizer.

       9.      Defendant Vilela represents that, to the best of Defendant Vilela’s knowledge and

following diligent review and inquiry, Defendant Vilela has been in compliance with the FLSA,

as interpreted by the Secretary, since August 26, 2021. In entering this Consent Judgment, the

Secretary has relied on the truth of this representation. If this representation is determined to be

false, and Defendant Vilela is found to be in violation of the FLSA, additional damages may be

owed and other relief may be appropriate.

       10.     Defendant Vilela shall not fail to cooperate with the United States Department of

Labor in any investigation conducted pursuant to Section 11(a) of the FLSA, 29 U.S.C. § 211(a).

Defendant Vilela shall provide truthful responses and other information and documents to the

United States Department of Labor. Nothing contained in this Consent Judgment, including the

requirement to cooperate as set forth in this Paragraph, abrogates Defendant Vilela’s rights under

the United States Constitution.

       11.     Nothing in this Consent Judgment precludes the Secretary from using evidence

discovered in the investigation that led to the Complaint in this matter in any future investigation,

enforcement action, or legal action.

       12.     Nothing in this Consent Judgment precludes the Secretary from bringing an

enforcement action against Defendant Vilela for any violation of the FLSA not specifically set

forth in the Secretary’s Complaint in this case.

       13.     Each party shall bear its own fees and other expenses incurred by such party in

connection with any stage of this proceeding.




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SO ORDERED, this ______ day of _______________, 2021.



                                               ______________________________
                                               Richard G. Stearns
                                               United States District Judge


For the Secretary:                           For Defendant Luiz Mauro Vilela, Jr.:

Seema Nanda                                  ______________________
Solicitor of Labor                           Jeremy T. Theerman, Esq.
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Wage and Hour Counsel                        MA BBO No. 654979

/s/ Emily V. Wilkinson                       Date: August 26, 2021
Emily V. Wilkinson
Trial Attorney
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Date: August 27, 2021




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                            EXHIBIT 1
                        PAYMENT SCHEDULE



      Payment Date                         Payment Amount
      October 1, 2021                          $500.00
     November 1, 2021                          $500.00
     December 1, 2021                          $500.00
